           Case 5:22-cv-00789-JWH-SHK Document 25 Filed 06/03/22 Page 1 of 3 Page ID #:293

 Attorney or Party without Attorney:                                                                        For Court Use Only
 David J. Darnell, Esq. (SBN 210166)
 CALLAHAN & BLAINE, APLC
 3 HUTTON CENTER DRIVE Ninth Floor
 SANTA ANA , CA 92707
   Telephone No: (714) 241-4444

      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff
                                                                 4427-02

 Insert name of Court, and Judicial District and Branch Court:
 UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
     Plaintiff:   Ross Cornell, an individual, et al.
 Defendant:       Office of the District Attorney, County of Riverside

             PROOF OF SERVICE                  Hearing Date:            Time:        Dept/Div:   Case Number:
                                                                                                 5:22-cv-00789 JWH (SHKx)
1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the Summons in a Civil Action First Amended Complaint for Declaratory Relief; FIRST AMENDED
      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF; Certification and Notice of Interested Parties (LOCAL RULE 7.1-1);
      NOTICE OF MOTION FOR PRELIMINARY INJUNCTION; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
      PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION; DECLARATION OF ROSS CORNELL IN SUPPORT OF MOTION FOR
      PRELIMINARY INJUNCTION; DECLARATION OF BRYAN ESTRADA IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION;
      DECLARATION OF ADELFO CERAME, JR. IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION; [PROPOSED[ ORDER AND
      PRELIMINARY INJUNCTION; CERTIFICATE OF SERVICE [FRCP 5(B)]

3.    a.     Party served:     Office of the District Attorney, County of Riverside
      b.     Person served:    Timothy Brown, Esq., Agent for Service of Process

4.    Address where the party was served:       3960 Orange St, Riverside, CA 92501

5.    I served the party:
      a. by substituted service.       On: Fri, May 27 2022 at: 03:35 PM by leaving the copies with or in the presence of:
                                       Araceli Hernandez , Legal Assistant / Served under F.R.C.P. Rule 4.


       (1)            (Residence or Usual Place of Abode) a person of suitable age and discretion who resides there.
       (2)        X   (Company) a Person in charge at least 18 years of age apparently in charge of the office or usual place of
                      business of the person served. I informed him or her of the general nature of the papers.
       (3)        X   (Declaration of Mailing) is attached.
       (4)            (Declaration of Diligence) attached stating actions taken first to attempt personal service.




                                                                     PROOF OF                                                       7157530
                                                                      SERVICE                                                    (11789171)
                                                                                                                                 Page 1 of 2
        Case 5:22-cv-00789-JWH-SHK Document 25 Filed 06/03/22 Page 2 of 3 Page ID #:294

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      Attorney For:                                              Ref. No. or File No.:
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           PROOF OF SERVICE                    Hearing Date:            Time:        Dept/Div:      Case Number:
                                                                                                    5:22-cv-00789 JWH (SHKx)


6. Person Who Served Papers:
   a. Jose Fuerte (PS-001978, Riverside County)                            d. The Fee for Service was: $214.52
   b. FIRST LEGAL                                                          e. I am: A Registered California Process Server
      600 W. Santa Ana Blvd., Ste. 101
      SANTA ANA, CA 92701
   c. (714) 541-1110




7.    I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                05/31/2022
                                                                                    (Date)                         (Signature)




                                                                     PROOF OF                                                          7157530
                                                                      SERVICE                                                       (11789171)
                                                                                                                                    Page 2 of 2
        Case 5:22-cv-00789-JWH-SHK Document 25 Filed 06/03/22 Page 3 of 3 Page ID #:295

 Attorney or Party without Attorney:                                                                              For Court Use Only
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 CALLAHAN & BLAINE, APLC
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 SANTA ANA , CA 92707
   Telephone No: (714) 241-4444

      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff
                                                                 4427-02

 Insert name of Court, and Judicial District and Branch Court:
 UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
     Plaintiff:   Ross Cornell, an individual, et al.
 Defendant:       Office of the District Attorney, County of Riverside

           PROOF OF SERVICE                     Hearing Date:            Time:           Dept/Div:    Case Number:
                                                                                                      5:22-cv-00789 JWH (SHKx)
               By Mail
1.    I am over the age of 18 and not a party to this action. I am employed in the county where the mailing occurred.

2.    I served copies of the Summons in a Civil Action First Amended Complaint for Declaratory Relief; FIRST AMENDED
      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF; Certification and Notice of Interested Parties (LOCAL RULE 7.1-1);
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      DECLARATION OF ADELFO CERAME, JR. IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION; [PROPOSED[ ORDER AND
      PRELIMINARY INJUNCTION; CERTIFICATE OF SERVICE [FRCP 5(B)]

3.    By placing a true copy of each document in the United States mail, in a sealed envelope by First Class mail with postage
      prepaid as follows:
      a. Date of Mailing: Tue, May 31, 2022
      b. Place of Mailing: SANTA ANA, CA 92701
      c. Addressed as follows: Office of the District Attorney, County of Riverside
                                3960 Orange St, Riverside, CA 92501

4.    I am readily familiar with the business practice for collection and processing of correspondence as deposited with the U.S. Postal
      Service on Tue, May 31, 2022 in the ordinary course of business.

                                                                            Recoverable cost Per CCP 1033.5(a)(4)(B)
5. Person Serving:
   a. DAVID LEDESMA (2891, Orange County)                             d. The Fee for Service was: $214.52
   b. FIRST LEGAL                                                     e. I am: Not a Registered California Process Server
      600 W. Santa Ana Boulevard, Suite 101
      SANTA ANA, CA 92701
   c. (714) 541-1110



6.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                 05/31/2022
                                                                                    (Date)                             (Signature)
